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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

DR. MATILDA SAENZ,                             §
                                               §
           Plaintiff,                          §
                                               §
v.                                             §       CIVIL ACTION NO. 3:10-CV-742-O
                                               §
DALLAS COUNTY COMMUNITY                        §
COLLEGE DISTRICT,                              §
                                               §
           Defendant.                          §

                           AGREED MOTION TO DISMISS WITH PREJUDICE

TO THE HONORABLE UNITED STATES MAGISTRATE JUDGE:

           COME NOW, Plaintiff Dr. Matilda Saenz (“Saenz”) and Defendant Dallas County

Community College District (“DCCCD”) and file this Agreed Motion to Dismiss with Prejudice,

and would show the Court as follows:

           Plaintiff Saenz desires to dismiss her claims asserted against Defendant DCCCD in this

Cause with prejudice to the refiling of same and the Parties request that the Court enter an order

dismissing the claims asserted between the Parties in accordance with same. A proposed order is

submitted herewith.

           WHEREFORE, Dr. Matilda Saenz and Dallas County Community College District

request that the above-named and numbered action be dismissed with prejudice to the refiling of

any and all claims that were or could have been raised herein, with all parties to bear their own

attorneys’ fees and costs.




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                                      Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        This is to certify that on May 19, 2011, I electronically filed the foregoing document with
the Clerk of the Court for the U.S. District Court, Northern District of Texas, using the electronic
case filing system of the court. The electronic case filing system sent a “Notice of Electronic
Filing” to all attorneys of record who have consented in writing to accept this Notice as service
of this document by electronic means.


                                      s/ Katie Anderson




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